                                Case 23-18159-CLC                       Doc 1          Filed 10/05/23                  Page 1 of 33


 Fill in this inforniation to identify the case:

 United States Bankruptcy Court for the:

 Southern District of Florida

 Case number {if known)-.__________________________Chapter 15                                                                                               Check if this is an
                                                                                                                                                            amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                            12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1 Debtor’s name                            Idea! Protein of America Inc,--------------------------------------------------------------------------------------------



2.   Debtor’s unique identifier            For non-individual debtors:

                                                   Si     Federal Employer Identification Number (EIN)             7     5   -3__ 2___6           9__ 4_ .3__ 4_


                                                   □      Other___________________________ . Describe identifier............... ..... .................................... .


                                           For individual debtors:

                                                   Q      Social Security number:       xxx      xx-______________

                                                   □      Individual Taxpayer Identification number (ITIN): 9 xx - xx -______________ _____

                                                   □      Other___ _____                 __________ . Describe identifier______                 _________


                                                                                                                                                                                  s
3. Name of foreign
   representative(s)                        Ernst & Young Inc, and Martin P. Rosenthal (authorized representative)


4. Foreign proceeding in which
   appointment Of the foreign               *n ttie Matter of the Proposed Plan of Compromise or Arrangement of Laboratoires C.O.P. Inc,
     representative^) occurred

s. Nature of the foreign
                                           Check one:
   proceeding
                                           Si      Foreign main proceeding
                                           □       Foreign nonmain proceeding
                                           □       Foreign main proceeding, or in the alternative foreign nonmain proceeding


e. Evidence of the foreign                 P       A certified copy, translated into English, of the decision commencing the foreign proceeding and
   proceeding                                      appointing the foreign representative is attached,

                                           P       A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                   proceeding and of the appointment of the foreign representative, is attached.

                                           S3      Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                   representative is described below, and relevant documentation, translated into English, is attached.
                                                   (1) CCAA Amended and Restated Initial Order and (2) Board Resolutions




7. Is this the only foreign                □       No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
   proceeding with respect to                      debtor is pending.)
   the debtor known to the
   foreign representstive(s)?                        es




 Official Form 401                                  Chapter 15 Petition for Recognition of a Foreign Proceeding                                             page 1
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Debtor       Ideal Protein of America Inc._________ ________ __                                  case number
             Name



s. Others entitled to notice        Attach a list containing the names and addresses of:
                                    (i)     ail persons or bodies authorized to administer foreign proceedings of the debtor,
                                    (ii)    all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                            petition, and

                                    (iii)   all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9. Addresses                        Country where the debtor has the center of its                      Debtor’s registered office:
                                    main interests:


                                   Canada_________________________________ 120 NE 5th Avenue, Suite B
                                                                                                        Number         Street



                                                                                                        P.O. Box

                                                                                                         Delray Beach_______________ FL                       33483
                                                                                                        City             State/Province/Region       ZIP/Postal Code


                                                                                                         United States of America
                                                                                                        Country




                                    Individual debtor’s habitual residence:                             Address of foreign representative(s):


                                    __________________________________________                           2875 Boul. Laurier, Bureau 410
                                    Number              Street                                          Number         Street



                                    P.O. Box                                                            P.O. Box

                                    ...................................... ..............................................Quebec, Quebec G1V 0C7__________ _    _
                                    City                   State/Province/Region    ZIP/Postal Code     City              State/Province/Region      ZIP/Postai Code


                                    ............ ......... ........                                      Canada                  __________________
                                    Country                                                             Country




to. Debtor’s website (URL)           https://idealprQtein.com________________________________________________




11. Type of debtor                  Check one:
                                    Hd      Non-individual {check one):

                                              El      Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                               □       Partnership

                                               □      Other. Specify:________________________ ____________ ___ ___________

                                    □       Individual




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                             page 2
                       Case 23-18159-CLC                   Doc 1          Filed 10/05/23            Page 3 of 33




Debtor       Ideal Protein of America Inc.                                               Cass number (Wmomml
             Whims




12. Why Is venue proper In ihfs     Check one:
    district?                       0    Debtor's principal place of business or principal assets in the United States are in this district.
                                    □    Debtor does not have a place of business or assets in the United States, but the following
                                         action or proceeding in a federal or stele court Is pending against th® debtor in this district:


                                    □    If neither box is checked, venue is consistent with the interests of justice and the convenience
                                         of the parties, having regard to the refief sought by the foreign representative, because;


                                                                                                                                                 I
13. Signature of foreign
                                    I request relief In accordance with chapter 15 of title 11, United States Code.
   representstfvefa)

                                    I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                    relief sought in this petition, and I am authorized to file this petition.

                                    I have examined the information In this petition and have a reasonable belief that the
                                    Information is true and correct.

                                    i declare underpenalty of perjury that the foregoing isdrue and£orrect,
                                                                                                    /mn&r'
                                         lr
                                    X            /■“
                                                                              WJT                     idin P. Rosenthal
                                        Signature of foreign representative                       Printed name


                                    Executed on        0
                                                        MM /DO / YYYV


                                    X
                                        Signature of foreign representative                       Printed name


                                    Executed on
                                                        MM .' DO I YYYY




14. Signature of attorney           X          /S/Paul Steven Singerman                            Date        10/5/2023
                                        Signature of Attorney for foreign representative                       MM   /UD/YYYY


                                        Paul Steven Singerman
                                        Printed name
                                        BERGER SINGERMAN LLP
                                        Firm rtsfne
                                        1450 Brickeil Avenue, Suite 1900
                                        Number         Slraet
                                        Miami                                                        FL             33131
                                        cay                                                            State            ZIP Code


                                        (305)755-9500                                                  sirtgerman@bergefsing8rman.com
                                        Contact phone                                                  Email addregg.




                                        0373880
                                        Bar mimber                                                     Slate




  Official Form 401                      Chapter 16 Petition for Recognition of a Foreign Proceeding                                    page 3
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                                            Exhibit 1

                                Ideal Protein of America Inc.
                               Corporate Ownership Statement

        Pursuant to rules 1007(a)(1)(A) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

       1. 9327-6269 Quebec Inc.

       2. Laboratoires C.O.P. Inc.


         For the Court’s convenience, a corporate structure chart is attached hereto.
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              Corporate Structure Chart
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                                         Exhibit 2

                 Pending Foreign Proceedings with Respect to the Debtors

        On August 14, 2023, Ideal Protein of America Inc. and three affiliated companies
(collectively, the “Debtors”) commenced a proceeding under the Companies’Creditors
Arrangement Act, R.S.C. 1985, c. C-36 (as amended, the “CCAA”) in the Quebec Superior Court,
Commercial Division, No. 200-11-028737-230 (the “Canadian Proceedings” and such court,
the “Canadian Court”).
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                                             Exhibit 3

                               Rule 1007(a)(4) Schedule of Parties

       Pursuant to rule 1007(a)(4)(B) of the Federal Rules of Bankruptcy Procedure, the
following are persons or bodies authorized to administer foreign proceedings of the Debtor:

                   Authority                                           Contact

 Martin P. Rosenthal                               900 Boulevard de Maisonneuve Guest
 (Ernst & Young Inc. — Senior Vice                 Bureau 2300
 President)                                        Montreal, Quebec H3A 0A8
                                                   Canada

 Ernst & Young Inc.                                2875 Boulevard Laurier
                                                   Bureau 410
                                                   Quebec, Quebec G1V 0C7
                                                   Canada



        The following is a list of pending litigation in which the Debtors are a party in the United
States at the time of filing of this petition:

       Tracy Gardner
       c/o Tanya J. Hansen
       Smith, Johnson, Allen, Connick & Hansen
       104 N. Wheeler Avenue
       Grand Island, Nebraska 68801
       Telephone:    (308) 382-1930
       thansen@gilawfirm.com

        A list of all entities against whom the Debtors are seeking provisional relief under
section 1519 of the Bankruptcy Code may be obtained on the website of the Debtors’ claims and
noticing agent at https://omniagentsolutions.com/Ideal. A copy of the information can also be
obtained by emailing the Debtors’ claims and noticing agent at IdealInquiries@omniagnt.com with
the subject “Ideal Protein.”
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                        Exhibit 4

   Board Resolutions Authorizing Foreign Representative
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                                              IDEAL PROTEIN OF AMERICA INC.

                                                         (the “Corporation ”)



                 RESOLUTIONS of the sole shareholder of the Corporation made as of August 14, 2023.


                 The undersigned, being the sole shareholder of the Corporation and having withdrawn
                 all the powers of the Corporation’s board of directors, hereby adopts the following
                 resolutions:

                 AUTHORIZATION TO FILE AN APPLICATION FOR AN INITIAL ORDER, AN
                 AMENDED AND REINSTATED INITIAL ORDER AND AN ORDER APPROVING A
                 SALE AND INVESTMENT SOLICITATION PROCESS UNDER THE COMPANIES’S
                 CREDITORS ARRANGEMENT ACT. LRC C C-36 AND RECOGNITION ORDER
                 UNDER CHAPTER 15 OF THE UNITED STATES BANKRUPTCY CODE

                 WHEREAS the Corporation, after thorough consultation with its legal and financial
                 advisors and the Corporation’s management, considers it is insolvent pursuant to the
                 Companies' Creditors Arrangement Act (the “CCAA”);

                 WHEREAS the Corporation believes it is in its best interest and that of all of its
                 stakeholders, including its shareholders, employees, creditors, suppliers, affiliated clinics
                 and product users to file an application (the “Application”) for the issuance of an Initial
                 Order, an Amended and Restated Initial Order and an Order Approving a Sale and
                 Investment Solicitation Process pursuant to the CCAA (the “CCAA Proceedings”) and
                 make all arrangements and take all incidental actions in connection with these CCAA
                 Proceedings, including seeking the following relief at the time the Corporation deems
                 appropriate:

                              a. the implementation of a sale and investment solicitation process to solicit
                                 offers for a broad range of executable transactions in respect of the
                                  business and/or assets of the Corporation and its related entities;

                              b. the granting of an administration charge up to a maximum amount of
                                 $1,000,000 on the present and future assets, property and undertakings
                                 of the Corporation (the “Property”) as security for the payment of the
                                  professional fees and disbursements of the proposed Monitor (Ernst &
                                 Young Inc.), its legal counsel (Fasken Martineau DuMoulin LLP), the legal
                                 counsel of the Corporation and its related entities (McCarthy Tetrault LLP
                                 and Kirkland & Ellis LLP), the legal counsel of Bank of Montreal and
                                  Federation des Caisses Desjardins de Quebec (the “Agents”) (Stikeman
                                  Elliot LLP), and the Chief Restructuring Officer (RC Benson Consulting
                                  Inc.) incurred in connection with the CCAA Proceedings;

                              c. the consolidation of the CCAA Proceedings of the Corporation and its
                                  related entities for administrative purposes;




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                              d. authorizing the proposed Monitor to borrow, for and on behalf of the
                                 Corporation and its related entities, from the lenders party to the Credit
                                 agreement dated September 30, 2018 (as amended from time to time)
                                 (the “Lenders”), from time to time an amount not exceeding $4,000,000
                                 (collectively, the “Temporary Advances”), to be advanced by the
                                 Lenders in order to finance the CCAA Proceedings as well as the ongoing
                                 operations of the Corporation during the implementation of the
                                 restructuring;

                              e. the granting of a charge on the Property in favor of the Lenders up to a
                                  maximum amount of $4,800,000, to secure the repayment of the
                                 T emporary Advances;

                             f.    authorizing, nunc pro tunc, the transfer of a total amount of approximately
                                   17 million US dollars previously held by the Corporation and its related
                                   entities, to a bank account opened at Desjardins on behalf of the
                                   Corporation and its related entities;

                              g. the granting of an indemnity charge up to an amount of $300,000 on the
                                  Property as security for the potential liability of the officers of the
                                 Corporation and its related entities, the Monitor and the Chief
                                  Restructuring Officer incurred in such capacity after the date of the Initial
                                 Order;

                              h. approving a key employee retention plan (the “KERP”) to secure the
                                 ongoing and continued support of certain key employees of the
                                 Corporation and its related entities and as an incentive for these
                                 employees to continue their employment through the CCAA Proceedings;

                              i.   the granting of a KERP charge on the Property as security for the
                                    payments of the amounts owed by the Corporation and its related entities
                                    under the KERP; and

                             j.    authorizing the Corporation’s to apply, as it may consider necessary or
                                   desirable, to any other court, tribunal, regulatory, administrative or other
                                   body, wherever located, for orders to recognize and/or assist in carrying
                                   out the terms of the Initial Order and any subsequent Orders rendered by
                                   the Court in the context of the CCAA Proceedings, including, without
                                   limitation, orders under the Chapter 15 of the United States Bankruptcy
                                   Code 11 U.S.C. §§ 101-1532.

                                   (collectively, the “Relief”)

                 WHEREAS the Corporation believes that it is in its best interest and that of all of its
                 stakeholders, including its shareholders, employees, creditors, suppliers, affiliated clinics
                 and product users, to seek the recognition of the CCAA Proceedings in the United
                 States by filing a petition commencing proceedings under the Chapter 15 of the United
                 States Bankruptcy Code;

                 WHEREAS the Corporation wishes Ernst & Young Inc. to act as monitor (the “Monitor”)
                 and RC Benson Consulting Inc to act as Chief Restructuring Officer, for the purpose of



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                 the CCAA Proceedings and to retain McCarthy Tetrault LLP and Kirkland & Ellis LLP as
                 its solicitors to represent the Corporation in the CCAA proceedings and in seeking the
                 recognition of the CCAA proceedings in the United States by filing a petition
                 commencing proceedings under the Chapter 15 of the United States Bankruptcy Code.

                 IT IS HEREBY RESOLVED:

                 1.      TO AUTHORIZE the Corporation to execute, deliver and file the Application and
                         any and all ancillary documents required for the purpose of the Application with
                         the Superior Court of Quebec (the “Court”) and to seek the recognition of the
                         CCAA Proceedings in the United States by filing a petition commencing
                         proceedings under the Chapter 15 of the United States Bankruptcy Code.

                 2.      TO AUTHORIZE the Corporation to retain Ernst & Young Inc. as Monitor for the
                         purpose of the CCAA proceedings, to retain McCarthy Tetrault LLP and Kirkland
                         & Ellis LLP as its solicitors to represent the Corporation in connection with the
                         CCAA Proceedings and to seek the recognition of the Initial Order in the United
                         States by filing a petition commencing proceedings under the Chapter 15 of the
                         United States Bankruptcy Code.

                 3.      TO AUTHORIZE the Corporation to seek the Relief under the Initial Order, the
                         Amended and Restated Initial Order and/or the Order Approving a Sale and
                         Investment Solicitation Process, as the case may be.

                 4.      TO AUTHORIZE any officer or director of the Corporation or RC Benson
                         Consulting Inc. (Mr. Randy Benson), acting alone, for and on behalf and in the
                         name of the Corporation, to execute and deliver the Application and ancillary
                         agreements, instruments, deeds, affidavits and other documents, including any
                         key employee retention program, with such changes, additions, and alterations
                         thereto, if any, as such officer, director or Chief Restructuring Officer of the
                         Corporation executing the same may approve, such approval to be conclusively
                         evidenced by his or her execution thereof, in order to give full effect to the
                         foregoing.

                 5.      TO AUTHORIZE AND DIRECT any other officer or director of the Corporation or
                         RC Benson Consulting Inc. (Mr. Randy Benson), and each of them, to take any
                         and all actions, make any and all filings and expenditures and take any and all
                         steps that such officer, director or Chief Restructuring Officer of the Corporation
                         may determine necessary, desirable or appropriate in order to carry out the
                         purpose and intent of and to consummate any of the actions contemplated by
                         any of the foregoing resolutions in the name of and on behalf of the Corporation.

                 LABORATOIRES C.O.P. INC.
                          ✓----- DocuSigned by:

                              f/WiA.
                 Per:     ^------ F 9 ? 0 ZC2_1il2D.D4.Dfi____


                        Dawn Halkuff




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                                                    Exhibit 5

                                                 CCAA Order1




1
    The attached copy of the entered order has been translated into English for ease of reference.
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                                          UNOFFICIAL TRANSLATION

                                                  SUPERIOR COURT
                                                    (Commercial Division)
    CANADA
    PROVINCE OF QUEBEC
    DISTRICT OF QUEBEC

     N°: 200-11-028737-230

     DATE : August 25, 2023


    THE HONOURABLE ERIC HARDY, J.S.C., PRESIDING


    IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT, R.S.C. 1985, c.
    C-36:


    BANK OF MONTREAL
    -and-
    FEDERATION DES CAISSES DESJARDINS

                          Agents
    -and-

    LABORATOIRES C.O.P INC.
    -and-
    9327-9269 QUEBEC INC.
    -and-
    PHARMALAB INC.
    -and-

     IDEAL PROTEIN OF AMERICA, INC.
                          Debtors

    -and-

    ERNST& YOUNG INC.
                          Monitor




                                          AMENDED AND RESTATED INITIAL ORDER


CONSIDERING the Application for the issuance of an initial order and an amended and
restated initial order and an order approving a sale and investment solicitation process
presented by Laboratoires C.O.P. Inc., 9327-6269 Quebec Inc., Pharmalab Inc., and
Ideal Protein of America, Inc. (collectively, the “Debtors"), under the Companies’


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Creditors Arrangement Act, R.S.C. (1985), c. C-36, as amended (the “CCAA”), the
                                                 suppc:(tl
consent of Ernst & Young Inc. to act as monitor of the Debtors (“E&Y” or the “Monitor”),
as well as E&Y’s report filed on August 24th, 2023, in its capacity as proposed Monitor of
the Debtors, having relied on the representations of legal counsel and having been
                                                             ■editors who are I i kely to be
affected by the charges herein were given prior notice of the presentation of the
Application;

CONSIDERING the provisions of the CCAA;

CONSIDERING the provisions of the initial order issued by this Court on August 15,
2023 (the "Initial Order");

CONSIDERING that it is appropriate, among other th ings, to issuean amended a nd
restated initial order under the CCAA providing, among other things, for the extension of
the stay period of all proceedings against the Debtors and their assets (including any
proceedings to reclaim the latter);

WHEREFORE, THE COURT :

[1 ]   GRANTS the Application.

                                                            e divideeunder tli e following
       headings:
          •   Service

          •   Effective Time
          •   Procedural Consolidation
          •   Plan of Arrangement
          •   Stay of Proceedings against the Debtors and the Property
          •   Stay of Proceedings against the Directors of the Debtors
          •   Possession of Property and Operations
          •   No Exercise of Rights or Remedies
          •   No Interference with Rights
          •   Continuation of Services
          •   Non-Derogation of Rights
          •   The Lenders are Unaffected Creditors
          •   Transfer and interim distribution of Surplus Cash
          •   Restructuring
          •   Powers of the Monitor
          •   Appointment of the Chief Restructuring Officer
          •   Indemnification Charge
          •   Interim Advances and Interim Advances Charges
          •   Priorities and General Provisions Relating to CCAA Charges
          •   Procedures
          •   General
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Service

[3]    ORDERS that any prior delay for the presentation of the Application be hereby
       abridged and accepted so that it may be validly presented today;

[4]    DECLARES that the sufficient prior notice of the presentation of this Application
       has been given by the Debtors to the interest parties, including secured creditors
       likely to be affected by the charges established under this Order;

[5]    PERMITS the service of the Order at any time, in any place and by any means,
       including e-mail.

Application of the CCAA

[6]    DECLARES that the Debtors are debtor companies to which the CCAA applies.

Effective time

[7]    DECLARES that this Order and all of its provision are effective as of 12 :01 a.m.
                                        , 0      3 date of this Order (the “Effective
       Time”)

Procedural Consolidation

[8]    ORDERS the consolidation of the present proceedings initiated against the
       Debtors under the CCAA (the “CCAA Proceedings”) under a single file number
       200-11-028737-230.

[9]    ORDERS that all fillings, applications and other proceedings and documents in
       connection with the CCAA Proceedings henceforth be filed under file number
       200-11-028737-230.

[10]   DECLARES that the consolidation of these CCAA Proceedings ordered herein
       shall be for administrative purposes only and shall not affect a consolidation of
       the assets and property or of the debts and obligations of each of the Debtors,
       including, without limitation, for purposes of any Plan (as defined herein below)
       that may be implemented.

Plan of Arrangement

[11]   DECLARES that the Debtors and the Monitor shall have the sole authority to file
       with this Court and submit one or more Plans of compromise or arrangement with
       respect to the Debtors (collectively, the "Plan") in accordance with the provisions
       of the CCAA.

Stay of Proceedings against the Debtors and the Property

[12]   ORDERS that, until and including October 6, 2023 or at a later date that the
       Court may determine (the "Stay Period"), no proceedings or enforcement
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       process before any court or tribunal (collectively the "Proceedings"), shall be
                                                                            fecting the
       Debtors’ business, operations and commercial activities (the "Business") or the
       Property (as defined herein below), including as provided in paragraph [17]
       hereinbelow, except with leave of this Court. Any and all Proceedings currently
       under way against or in respect of the Debtors or affecting the Business or the
       Property are hereby suspended pending further order of this Court, the whole
       subject to the provisions of subsection 11.1 of the CCAA.

                                                                                 e
       right of a Province are suspended in accordance with the terms and conditions of
       subsection 11.09 of the CCAA.

Stay of Proceedings against the Directors of the Debtors

[14]   ORDERS that during the Stay Period and except as permitted under subsection
       11.03(2) CCAA, no Proceedings may be commenced or continued against any
       former, present or future director or officer of the Debtors nor against any person
       deemed to be a director or an officer of the Debtors under subsection 11.03(3) of
       the CCAA (each, a "Director" and collectively, the "Directors") with respect to
       any claim against such Director which arose prior to the Effective Time and which
       relates to any obligation of the Debtors where it is alleged that any of the
       Directors is, under any law, liable in such capacity to pay such obligation.

Possession de Property and Operations

[15]   ORDERS under reserve of rights and powers granted to the Monitor under the
       present Order, that each of the Debtors shall remain in possession and control of
       its present and future assets, rights, undertakings and properties of every nature
       and kind whatsoever and wherever situated, including all proceeds thereof
       (collectively, the "Property"), the whole in accordance with the terms and
       conditions of this Order.

[16]   ORDERS that, subject to the provisions of this Order and of the CCAA, and in all
       cases, with the consent of the Monitor (after consultation with the Agents), the
       Debtors may pay, without having the obligation to do so, all the reasonable
       expenses incurred by the Debtors for the operation of their respective business in
       the ordinary course following the issuance of this Order, and in the execution of
       the provisions of this Order, which expenses may include, namely:

       a)     all expenses and capital expenditures that are reasonably necessary to
              preserve the Property or the Business; and

       b)    the payment for goods or services effectively provided to the Debtors
             following the date of this Order.
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No Exercise of Rights or Remedies

[17]   ORDERS that, during the Stay Period and subject to, inter alia, subsection 11.1
       of the CCAA, all rights or remedies (including any right of rescission or claim) of
       any individual, natural person, firm, corporation, partnership, limited liability
       company, trust, joint venture, association, organization, governmental body or
       agency, or any other entity (collectively, the "Persons" and individually, a
       "Person") against or with respect to the Debtors or affecting the Business, the
       Property or any part of the Business or the Property, are hereby stayed and
       suspended, except with leave of this Court.

[18]   DECLARES that to the extent any rights, obligations, or prescription, time or
       limitation periods, including without limitation, to file grievances, relating to the
       Debtors, or any of the Property or the Business, may expire (other than pursuant
                                                                                any nature
       whatsoever), the term of such rights, obligations, prescription, time or limitation
       period shall hereby be deemed to be extended by a period equal to the Stay
       Period. Without limiting the generality of the foregoing, if the Debtors become
       bankrupt or a receiver is appointed as defined in subsection 243(2) of the
       Bankruptcy and Insolvency Act (Canada) (the "BIA") in respect of the Debtors,
       the period elapsed between the date of the Initial Order and the day on which the
       Stay Period ends shall not be calculated in respect of the Debtors in determining
       the thirty (30) day period referred to in section 81.1 of the BIA.

No Interference with Rights

[19]   ORDERS that, during the Stay Period, no Person shall have the right to
       discontinue, fail to honor, alter, interfere with, repudiate, resiliate, terminate or
       cease to exercise any right, renewal right, contract, agreement, licence or permit
       in favour of or held by the Debtors, except with the written consent of the Monitor,
       or unless with leave of the Court.

Continuation of Services

[20]   ORDERS that, during the Stay Period and under reserve of paragraph [23]
       hereof and subsection 11.01 of the CCAA, all Person having oral or written
       agreements with the Debtors or statutory or regulatory mandates for the supply
       of goods or services, including without limitation all computer software, data
       processing services, centralized banking services, payroll services, insurance,
       transportation, utility services or other goods and services made available to the
       Debtors shall be hereby restrained, until further order of this Court, from
       interrupting, failing to renew per the same terms and conditions, altering, refusing
       to renew, interfering with or terminating the supply of such goods or services as
       may be required by the Debtors, and that the Debtors shall be entitled to the
       continued use of their current premises, telephone numbers, facsimile numbers,
       Internet addresses, Internet domain names or other services, provided in each
       case that the normal prices or charges for all such goods or services received
       after the date of the Initial Order are paid by the Debtors, without having to
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       provide a security deposit or any other security, in accordance with normal
       payment practices of the Debtors or such other practices as may be agreed upon
       by the supplier of goods or services and by the Debtors, with the consent of the
       Monitor or as may be ordered by this Court.

[21]   ORDERS that, notwithstanding anything contained herein and subject to

       immediate payment for goods, services, the use of leased or licensed property or
       other valuable consideration provided to the Debtors on or after the date of the
       Initial Order, nor shall any Person be under any obligation to make further
       advance of money or otherwise extend any credit to the Debtors.

[22]   ORDERS that, without limiting the generality of the foregoing and subject to
       section 21 of the CCAA and paragraph [25] of this Order, if applicable, cash or
       cash equivalents placed on deposit by the Debtors with any Person, during the
       Stay Period, whether in an operating account or in another account, for
       themselves or for another entity, shall not be applied by such Person in reduction
       or repayment of amounts due as of the date of the Initial Order or due on or
                                                                                     ■ges
       accruing in respect thereof.       However, this provision does not prevent any
       financial institution from: (i) reimbursing themselves for the amount of any
       cheque drawn by the Debtors and properly honoured by such institution, or (ii)
       holding the amount of any cheque or other instrument deposited to the account
       of the Debtors until those cheques or other instruments has been honoured by
       the financial institution on which they have been drawn.

Non-Derogation of Rights

[23]   ORDERS that, notwithstanding the foregoing, any Person having provided any
       kind of letter of credit, surety bond, guarantee or bond (the "Issuing Party") at
       the request of the Debtors, shall be required to continue honouring any and all
       such letters of credit, surety bonds, guarantees and bonds issued on or before
       the date of the Initial Order provided that all conditions set forth herein are met
       save, and except for any defaults resulting from this Order. However, the Issuing
       Party shall be entitled, where applicable, to retain bills of lading or shipping or
       other documents relating thereto until paid.

The Lenders are Unaffected Creditors

[24]   ORDERS that notwithstanding any other provision contained in this Order, the
       Agents and the lenders who are members of the syndicate of lenders
       represented by the Agents (the " Lenders") as well as the other lenders (the
       “Lenders”) that are party to the Credit Agreement executed with he Debtors and
       dated September 30, 2015, as amended from time to time, shall be non-targeted
       creditors in these CCAA Proceedings and in any Plan that may be filed in the
       context of these proceedings, and their claims against the Debtors, including in
       connection with any Interim Advance made to the Monitor in accordance with this
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       this Order (or any subsequent order of this Court), shall not be subject to
       arrangement or compromise except with their express consent.

Transfer and interim distribution of Surplus Cash

[25]   AUTHORIZES, nunc pro tunc, the transfer of the Surplus Cash (as defined in the
       Application) previously held by the Debtors to a bank account opened with
       Desjardins on behalf of the Debtors and under the exclusive control of the
       Monitor (the "Desjardins Account").

[26]   AUTHORIZES the Monitor to proceed with an interim distribution to the Lenders
       of the balance of the Surplus Cash held in the Desjardins Account, less the
       amounts of the Interim Advances permitted by the Court in accordance with this
       Order, the whole subject to the receipt by the Monitor of a legal opinion
       confirming the validity of the Lenders’ security.

Restructuring

[27]   DECLARES that, to facilitate the orderly restructuring of the business and
       financial affairs of the Debtors (the "Restructuring"), but subject to such
       requirements as are imposed by the CCAA, the Debtors, subject to the Monitor’s
       approval, or the Monitor, shall have the right to do, for and on behalf of the
       Debtors, subject to the provisions of the CCAA and in all cases, in consultation
       with the Agents, the following:

       a)    cease, downsize or shut down any of their operations or close any of the
             Debtors' establishments, temporarily or permanently, as they deem
                                                                    is thereof in th e
             Plan, as applicable;

       b)    pursue all avenues to finance or refinance, offer for sale, transfer, assign
             or in any other manner dispose of the Business or the Property, in whole
             or in part, subject to further order of the Court, sections 11.3 and 36 of the
             CCAA and subject to subparagraph [27]b);

       c)    convey, transfer, assign, lease or any other manner dispose of the
             Property, outside the ordinary course of business, in whole or in part,
             provided that the price in each case does not exceed $100,000 or
             $1,000,000 in the aggregate;

       d)    terminate or lay off, temporarily or permanently, the employees of the
             Debtors, as they deem appropriate and, to the extent that any amounts in
             lieu of notice or termination or other amounts in respect thereof are not
             paid in the ordinary course of business, enter into an agreement to that
             effect on such terms as the Monitor and such employee shall have agreed
             upon or, failing such agreement, deal with the consequences thereof in
             the Plan, if any, as the Monitor may determine;
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       e)     subject to section 32 of the CCAA, disclaim or resiliate any agreement,
              contract or arrangement of any nature whatsoever, together with any
              disclaimer or resiliation which may be agreed between the Monitor and the
              relevant party or, failing such an agreement, to make a provision for the
              consequences therefor in the Plan, if any, as the Monitor may determine;
              and

       f)     subject to section 11.3 CCAA, assign all rights and obligations of the
              Debtors.

[28]   DECLARES that if a notice of resiliation is given to a landlord of any of the
       Debtors pursuant to section 32 of the CCAA and subparagraph [27]e) of this
       Order, then a) during the notice period prior to the effective time of the notice of
       disclaimer or resiliation, the landlord may show the affected leased premises to
       prospective tenants during normal business hours by giving the Monitor 24 hours'
       prior written notice, and b) at the effective time of the notice of termination, the
       landlord shall be entitled to take possession thereof without waiver of any rights
       or claims against the relevant Debtors, provided nothing herein shall relieve a
       landlord of its obligation to mitigate any damages claimed by reason of such
       resiliation, if any;

[29]   ORDERS that the Monitor shall provide to any relevant landlord notice of its
       intention to remove any fittings, fixtures, installations or leasehold improvements,
       from the Debtors, at least seven (7) days in advance. If the Debtors have
       already vacated the leased premises, they shall not be considered to be in
       occupation of such location pending resolution of any dispute between them or
       between the Monitor and the landlord.

[30]   DECLARES that, in order to facilitate the Restructuring, the Monitor may settle
       claims of customers and suppliers that are in dispute.

[31]   DECLARES that, pursuant to the Personal Information Protection and Electronic
       Documents Act, S.C. 2000, c.5, and the Act respecting the protection of personal
       information in the private sector, CQLR, c. P-39.1, the Monitor is permitted, in the
       course of the CCAA Proceedings, to disclose personal information of identifiable
       individuals in its possession or control to interested parties or prospective
       investors, financiers, buyers or strategic partners and to their advisors
       (individually, a "Third Party"), but only to the extent that it is desirable or required
       to negotiate and complete the Restructuring or preparation and implementation
       the Plan or a transaction for that purpose, provided that the Persons to whom
       such personal information is disclosed enter into confidentiality agreements
       binding them to maintain and protect the privacy of such information and to limit
       its use to the extent necessary to complete the transaction or the Restructuring
       then under negotiation. Upon the completion of the use of personal information
       for the limited purposes set out herein, the personal information shall be returned
       to the Debtors or destroyed. In the event that a Third Party acquires personal
       information as part of the Restructuring or the preparation and implementation of
       the Plan or a transaction in furtherance thereof, such Third Party may continue to
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       use the personal information in a manner which in all respects identical to the
       prior use thereof by the Debtors.

Powers of the Monitor

[32]   CONFIRMS and RATIFIES hereby the appointment of Ernst & Young Inc as
       monitor to supervise the business operations and financial affairs of the Debtors
       as an officer of this Court and that the Monitor, in addition to the prescribed
       powers and obligations referred to in section 23 of the CCAA and otherwise
       provided for in this Order (including at paragraphs [27] and [33] herein):

       a)    shall, without delay, i) publish on the Monitor’s website (the "Website") a
             notice containing the information prescribed by the CCAA, ii) make this
             Initial Order publicly available in the manner prescribed by the CCAA, iii)
             send, in the manner prescribed under the CCAA, a notice to all known
             creditors of the Debtors having a claim of more than $1,000 against the
             Debtors, advising them that this Order is publicly available and, iv) prepare
             a list of the names and addresses of such creditors and the estimated
             amount of their respective claims and make such list publicly available in
             the prescribed manner, all in accordance with subparagraph 23(1) (a) of
             the CCAA and the regulations thereunder;

       b)    shall monitor the Debtors’ operations and financial affairs,including
             namely their receipts and disbursements;

       c)    shall assist the Debtors, to the extent required, in dealing with their
             creditors and other interested Persons during the Stay Period;

       d)    shall assist the Debtors, to the extent required, with the preparation of
             their cash-flow projections and any other projections or reports and the
             development, negotiation and implementation the Plan;

       e)    shall assist and advise the Debtors, to the extent required, to review their
             business operations and to evaluate opportunities for cost reduction and
             revenue enhancement and operating efficiencies;

       f)    shall assist the Debtors, to the extent required, with the Restructuring, and
             in their negotiations with their creditors and other interested Persons and
             with the holding and administering of any meetings held to consider the
             Plan and holding a vote, as the case may be;

       g)    shall report to the Court and to the Agents on the state of the business
             and financial affairs of the Debtors, or all developments in these
             proceedings, or any related proceedings related within the time limits set
             forth by the CCAA, and at such time limits as considered appropriate by
             the Monitor or as the Court may order, and the Monitor may file
             consolidated reports for the Debtors;
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       h)    shall report to this Court and interested parties, including but not limited to
             the Debtors, the Agents and creditors affected by the Plan, with respect to
             the Monitor's assessment and recommendations with respect to the Plan;

       i)    may retain and employ such agents, advisers and other assistants as are
             reasonably necessary for the purpose of carrying out this Order, including,
             without limitation, one or more entities related to or affiliated with the
             Monitor;

       j)    may engage legal counsel to the extent that the Monitor considers
                                                                     the discharge of
             its obligations in this proceeding and any related proceeding under the
             Order or the CCAA;

       k)    may act as "foreign representative" of the Debtors or in any other similar
             capacity in connection with any insolvency, bankruptcy or restructuring
             proceedings instituted elsewhere;

       l)    may give any consent or approval as may be required by this Order or the
             CCAA;

       m)    may hold and administer funds in connection with arrangements made
             among the Debtors, any counterparties and the Monitor, or by Order of
             this Court; and

       n)    may perform such other duties as are required by the Order or the CCAA
             or required by this Court from time to time.

[33]   ORDERS that in addition to the powers set forth in paragraph [32] hereof and
       subject to further orders of this Court, the Monitor shall also be authorized, but
       not required, to exercise the following powers for and on behalf of the Debtors,
       but after consultation with the Agents:

       a)    direct and control the financial affairs and operations of the Debtors and to
             carry on the business of the Debtors;

       b)    execute banking and other transactions on behalf of the Debtors and to
             sign documents or take any other step that is necessary or appropriate for
             the exercise of such authority;

       c)    execute such documents as may be necessary in any proceedings before
             this Court or pursuant to any order of this Court;

       d)    take steps for the preservation and protection of the Business and the
             Property;

       e)    take any step that the Debtors may take under the CCAA or this Order;

       f)    enter into agreements with respect to the Business or the Property;
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       g)    file any application to the Court for the issuance of any order that may be
             necessary or appropriate in order to convey the Property to one or more
             purchasers thereof;

       h)    take any action required to be taken by the Debtors pursuant to this Order
             or any other order of the Court;

       i)    exercise, on behalf of the Debtors, the rights and privileges to which the
             Debtors may be entitled as shareholders, partners, members or otherwise;

       j)     provide information to the Agents concerning the Business and the
              Property;

       k)    examine under oath any Person reasonably believed to have information
             concerning the Debtors, the Business or the Property and to order such
             Person to produce any books, records, correspondence or documents in
             his or her possession or control relating to the Debtors, the Business or
             the Property; and

       l)    take any step, enter into any agreement, execute any document, incur any
             obligation or take any other step necessary, useful or ancillary to the
             exercise of the aforesaid powers.

[34]   DECLARES that the Monitor is authorized and empowered, but not obligated, to
       operate and control, on behalf of the Debtors, all existing accounts of the
       Debtors, maintained with any financial institution (individually, an 'Account" and
       collectively, the "Accounts") in such manner as the Monitor, in its sole discretion,
       deems necessary or appropriate, including, but not limited to:

       a)     exercise control over funds credited to or deposited in the Accounts;

       b)     make any disbursements on the Accounts authorized by this Order or any
              other order issued in the CCAA Proceedings;

       c)     give instructions with respect to the Accounts and funds credited thereto
              or deposited therein, including transferring funds credited thereto to or
              deposited in any other account as the Monitor may direct; and

       d)    add or remove persons having signing authority with respect to an
             Account or order the closure of an Account.

[35]   ORDERS that the Debtors and their Directors, officers, employees and agents,
       accountants, auditors and any other Persons having notice of this Order shall
       cooperate with the Monitor in the exercise of its mandate and shall provide the
       Monitor with unrestricted access without delay to all of the Business and
       Property, including the premises, books, records and data, including data in
       electronic form, and to all other documents of the Debtors.
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[36]   DECLARES that the Monitor is authorized to provide creditors and other relevant
                                                                             ts made by
       them who in writing addressed to the Monitor and copied to the Debtors’ counsel.
       In the case of information that the Monitor has been advised by the Debtors is
       confidential, proprietary or of competitive nature, the Monitor shall not disclose
       such information to any Person without the consent of the Debtors, unless
       otherwise authorized under the Initial Order or unless otherwise directed by the
       Court.

[37]   DECLARES that if the Monitor, in its capacity as Monitor, carries on the
       operation of the Business of the Debtors or continues the employment of the
       Debtor's employees, the Monitor shall benefit from the provisions of section 11.8
       of the CCAA.

[38]   ORDERS that neither the Monitor nor any employee or agent of the Mon i tor stall
       be deemed (i) to be a director, officer or trustee of the Debtors, (ii) to assume any
       obligation incumbent upon the Debtors or (iii) to assume any fiduciary duty to the
       Debtors or any other Person, including any creditor or shareholder of the
                                                                             s

[39]   DECLARES that no action or other proceeding shall be commenced against the
       Monitor relating to its appointment, its conduct as Monitor or the carrying out of
                                                                        ithis Court
       and on at least seven (7) days notice to the Monitor and its counsel. Entities
       related to the Monitor or belonging to the same group as the Monitor are also
       entitled to the protections, safeguards, advantages and privileges conferred on
       the Monitor by virtue of this Order.

[40]   ORDERS that the Debtors shall pay the reasonable fees and disbursements of
       the Monitor, the Monitor's legal counsel, the Debtors’ legal counsel, the Chief
       Restructuring Officer and the Agents’ legal counsel, insofar as they relate to
       these CCAA Proceedings, whether incurred before or after the date of the Initial
       Order and shall provide each with a reasonable retainer in advance on account
       of such fees and disbursements, if so requested.

[41]   DECLARES that the Monitor, the Monitor’s legal counsel, the Debtors’ legal
       counsel, the Agents’ legal counsel, and the Chief Restructuring Officer (as
       defined herein below), as security for the professional fees and disbursements
       incurred both before and after the making of the Initial Order and directly related
       to these CCAA Proceedings, be entitled to benefit of and are hereby granted a
       charge, a security interest and a hypothec on the Property (the "Administrative
       Charge") for a total sum of $1,000,000, in accordance with the priority
       established in paragraph [60] hereof.
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Appointment of the Chief Restructuring Officer

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       chief restructuring officer of the Debtors (the "Chief Restructuring Officer") in
       the CCAA Proceedings.

[43]   ORDERS that the letter of engagement of the Chief Restructuring Officer (Exhibit
       R-14, filed under seal) in support of the Application (the "The Engagement
       Letter of the Chief Restructuring Officer") be approved and AUTHORIZES the
       Chief Restructuring Officer to carry out his mandate pursuant to the Engagement
       Letter of the Chief Restructuring Officer.

[44]   ORDERS that the Debtors and their Directors, officers, employees and agents,
       accountants, auditors and all other Persons having notice of this Order shall
       cooperate with the Chief Restructuring Officer in the exercise of his mandate and
                                                                                  i all of
       the Business and Property, including, without limitation, the premises, books,
       records and data, including data in electronic form, and to all other documents of
       the Debtors.

[45]   ORDERS that the Debtors shall pay the professional fees and disbursements of
       the Chief Restructuring Officer, in accordance with the terms of the Engagement
       Letter of the Chief Restructuring Officer, whether incurred before or after this
       Order, and that the Debtors provide to the Chief Restructuring Officer a
       reasonable retainer in advance on account of such fees and disbursements, if so
       requested, and ORDERS that, in accordance with paragraph [41] hereof,
       professional fees and disbursements payable to the Chief Restructuring Officer
       pursuant to the Engagement Letter of the Chief Restructuring Officer be
       guaranteed by the Administrative Charge.

[46]   ORDERS that neither the Chief Restructuring Officer nor any employee or agent
       of the Chief Restructuring Officer shall be deemed (i) to be a director, officer or
       trustee of the Debtors, (ii) to assume any obligation incumbent upon the Debtors
       or (iii) to assume any fiduciary duty to the Debtors or any other Person, including
       any creditor or shareholder of the Debtors.

Indemnification Charge

[47]   ORDERS that the Debtors indemnify the Monitor, the officers of the Debtors and
       the Chief Restructuring Officer against all claims relating to any obligations or
       liabilities they may incur as a result of or in connection with their respective
       capacities as Monitor, officers of the Debtors or Chief Restructuring Officer,
       except where such obligations or liabilities have been incurred as a result of the
       gross negligence, willful misconduct or intentional fault on their part.

[48]   DECLARES that Monitor, together with the officers of the Debtors and the Chief
       Restructuring Officer, shall have and are hereby granted a charge, a security
       interest and a hypothec on the Property up to a total amount of $300,000 (the
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       "Indemnification Charge"), as security for the indemnification obligation set
       forth in paragraph [47] hereof as of the Effective Time. The Indemnification
       Charge shall have the priority set forth in paragraph [60] hereof.

[49]   ORDERS that, notwithstanding any provision of an applicable insurance policy to
       the contrary, a) no insurer shall be subrogated to the Indemnification Charge or
                                                                         he
       Debtors and the Chief Restructuring Officer shall only benefit from the
       Indemnification Charge to the extent that they do not have insurance coverage
       permitting their indemnification with respect to the claims set forth in paragraph
                                             [ ci
       that the Monitor, the officers of the Debtors and the Chief Restructuring Officer
       are entitled to receive as indemnification pursuant to paragraph [47],

Interim Advances and Interim Advances Charge

[50]   ORDERS that the Monitor is authorized to borrow, from the Lenders, any sum of
       money, from the Surplus Cash (as defined in the Application) transferred to the
       Desjardins Account, that the Monitor may deem necessary or desirable, provided
       that the amount of unpaid principal does not exceed the amount of $4,000,000,
       or such greater amount as the Court may authorize, from time to time, in a
       subsequent order (collectively, the "Interim Advances" and each a "Interim
                                                                     ems appropriate,
       for the purpose of financing the CCAA Proceedings and the exercise of the
       powers and duties conferred upon it by this Order, including provisional
       expenses.

[51]   ORDERS that all of the Property be and is hereby encumbered by a charge, a
       security and a hypothec up to an aggregate amount of $4,800,000 (the "Interim
       Advance Charge") in favour of the Lenders as security for all of the obligations
       of the Debtors to the Lenders in respect of all amounts owing (including principal,
       interest and other charges) and arising out of or in connection with the Interim
       Advances. The Interim Advances Charge shall have the priority set out in
       paragraph [60] hereof.

[52]   ORDERS that the Monitor may issue certificates, substantially in conformity with
       the form attached hereto as Appendix “A” (each, the "Monitor's Certificate")
       for any amount that the Monitor borrows pursuant to this Order.

[53]   ORDERS that that any amounts borrowed by the Monitor pursuant to this Order
       (or any subsequent Order of this Court), as well as any Monitor's Certificates
       evidencing such borrowings or any part thereof, shall rank pari passu, unless
       otherwise agreed by the holders of any previously issued Monitor's Certificate.

[54]   DECLARES that the Agents, acting for the benefit of the Lenders, may:

       a)     notwithstanding any other provision of this Order, take from time to time
              any steps as they deem necessary or appropriate to register, record or
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              publish the Interim Advances Charge in all jurisdictions as they deem
              appropriate; and

       b)     notwithstanding any other provision of this Order, refuse to make any
              advance to the Monitor to the extent they deem appropriate.

[55]   ORDERS that subject to a further order of this Court, no order modifying,
       rescinding or otherwise affecting paragraphs [50] and [54] hereof shall be made
       unless a) notice of the application for such order is served on the Agents and the
       Agents' counsel by the party making such application at least seven (7) days
       prior to the presentation of such application to the Court or b) the Debtors
       consent thereto.

Key Employee Retention Plan (KERR) and KERR Charge

[56]   APPROVES the employee and key employee retention plan described at
       Exhibits R-17 under seal and R-18, under seal (the “KERR”).

[57]   DECLARES that the employees and officers benefitting from the KERR shall
       have and are hereby granted a charge, a security interest and a hypothec on the
       Property up to a total amount of $2,150,000 (the "KERR Charge"), as security for
       the indemnification obligation set forth in the KERR. The KERP Charge shall
       have the priority set forth in paragraph [60] hereof.

[58]   AUTHORIZES the Monitor to undertake all measures deemed necessary to
       ensure the implementation of the KERP.

[59]   ORDERS that during these CCAA Proceedings, the Monitor or the Debtors may
       petition this Court to obtain directions with respect to the KERP.

Priorities and General Provisions Relating to CCAA Charges

[60]   DECLARES that the priorities of the Administrative Charge, the Indemnification
       Charge and the Interim Advances Charge (collectively, the "CCAA Charges") as
       between them with respect to the Property to which they apply, shall be as
       follows:

       a)    first, the Administrative Charge;

       b)     second, the Indemnification Charge;

       c)    third, the KERP Charge; and

       d)    fourth, the Interim Advances Charge.

[61]   DECLARES that each of the CCAA Charges rank senior and in priority to all
       other hypothecs, mortgages,        liens security interests, priorities, charges,
       encumbrances    or security        of   any  nature    whatsoever     (collectively,
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       "Encumbrances") affecting the Property charged by such Encumbrances,
       including deemed trusts.

[62]   ORDERS that, except as otherwise expressly provided for herein, the Debtors
       shall not grant any Encumbrances in or against a Property that rank in priority to
       or equal or pari passu to the CCAA Charges, unless they obtain the prior written


[63]   DECLARES that each of the CCAA Charges shall attach, as of the Effective
       Time, to all present and future Property of the Debtors, notwithstanding any
                                                                                  l
       any condition precedent.

[64]   DECLARES that the CCAA Charges and the rights and remedies of the
       beneficiaries of such CCAA Charges shall be valid and enforceable and shall not
       otherwise be limited or impaired in any way by: i) this proceeding and the
       declaration of insolvency made herein; ii) any application for a bankruptcy order
       filed pursuant to the BIA in respect to the Debtors, or any bankruptcy order made
       pursuant to such application or any assignment in bankruptcy made or deemed
       to be made in respect of the Debtors, or iii) any negative covenants, prohibitions
       or other similar provisions with respect to borrowings, indebtedness or
       Encumbrances contained in any agreement, lease, sub-lease, offer to lease or
                                                                         ty Agreement"),
       and notwithstanding any provision to the contrary in any Third Party Agreement:

       a)    the creation of the CCAA Charges does not and shall not be deemed to
             constitute a breach by the Debtors of any Third Party Agreement to which
             they are a party; and

       b)    the beneficiaries of the CCAA Charges shall not have liability to any
             Person whatsoever as a result of any breach of any Third Party
             Agreement caused by or resulting from the creation of the CCAA Charges.

[65]   DECLARES that notwithstanding: i) this proceeding and any declaration of
       insolvency made herein, ii) any application for a bankruptcy order filed in respect
       of the Debtors pursuant to the BIA and any bankruptcy order granted thereunder
       or any assignment of property involving the Debtors that is made or deemed to
       have been made, and iii) any federal or provincial statute, the payments or
       dispositions of property made by the Debtors pursuant to this Order and the
       granting of the CCAA Charges do not and will not constitute settlements,
       fraudulent preferences, transfers at undervalue or other challengeable or
       reviewable transactions or conduct meriting an oppression remedy under any
       applicable law.

[66]   DECLARES that the CCAA Charges shall be valid and enforceable as against all
       Property of the Debtors and against all Persons, including any trustee in
       bankruptcy, receiver, receiver-manager or interim receiver of the Debtors, for all
       purposes.
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Procedures

[67]   ORDERS that, subject to a further order of this Court, all applications in these
       CCAA Proceedings are to be brought on not less than five (5) business days'
       notice to all Persons on the service list prepared by the Debtors or their counsel
       in connection with the CCAA Proceedings (the "Service List"). Each application
                                                                         "I
       Time") for the hearing.

[68]   ORDERS that any Person wishing to oppose or object to the relief sought on an
                                                                                    statin
       relating to the application or notice stating the opposition or objection to the
       application and the grounds for such opposition or objection (a "Contestation")
       in writing to the Agents, the Debtors and the Monitor, with copies to all Persons
       on the Service List, no later than 5:00 p.m. on the date that is three (3) business
       days prior to the Initial Hearing Date (the "Objection Deadline"). If an application
       is made with less than five (5) business days' notice, the Objection Deadline will
       be brought forward by an equal and corresponding period of time.

[69]   ORDERS that, if no Contestation is se^edbefore the Objection Deadline, the
       judge in charge of the CCAA Proceedings (the "Presiding Judge") may
       determine: i) whether a hearing is necessary; ii) whether such hearing will be
       held in person, by videoconference, by telephone or by written submissions only
       (on the basis of the file), and iii) the parties from whom submissions are required
       (collectively, the "Hearing Details"). In the absence of such a determination, a
       hearing will be held in the ordinary course.

[70]   ORDERS that, if no Contestation is served by the Objection Deadline, the
       Monitor or the Monitor’s legal counsel shall communicate with the Presiding
       Judge regarding whether a determination has been made by the Presiding Judge
       concerning the Hearing Details. The Monitor or the Monitor’s legal counsel shall
       thereafter advise the Service List of the Hearing Details, and the Monitor shall
       report upon its dissemination of the Hearing Details to the Court in a timely
       manner, which report may be included in the Monitor’s next report under the
       CCAA Proceedings.

[71]   ORDERS that, if a Contestation is served before the Objection Deadline, the
       interested parties shall appear before the Presiding Judge on the Initial Hearing
       Date at the Initial Hearing Time, or such earlier or later time as may be directed
       by the Court, for the following purposes: a) proceed with the hearing on the Initial
       Hearing Date and at the Initial Hearing Time; or b) establish a schedule for the
       delivery of materials and the hearing of the contested application and other
       matters, including interim relief, as the Court may direct.

General

[72]   ORDERS that no Person shall commence, proceed with or enforce any
       Proceedings against any of the Directors, employees, legal counsel, or financial
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       advisors of the Debtors, the members of the syndicate of Lenders or the Monitor,
       in relation with CCAA Proceedings, the Business or Property of the Debtors,
                                           }ourt, uponfive
       those referred to in the present paragraph whom it is proposed to be named in
       such Proceedings;

[73]   DECLARES that this Order and any proceedings and affidavit leading to the
       Order, shall not, in and of themselves, constitute a default or a failure to comply
       by the Debtors under any statute, regulation, licence, permit, contract,
       permission, covenant, agreement, undertaking or other writing or requirement.

[74]   DECLARES that, except as otherwise specified herein, the Debtors and the
       Monitor are at liberty to serve any notice, proof of claim form, proxy, circular or
       other document in connection with these proceedings by forwarding copies by
                                                                        y
       transmission to the Persons or other appropriate parties at their respective given
       addresses as last shown on the records of the Debtors; the document so served
       shall be deemed to be received on the date of delivery, if by personal delivery or
                                                                               couri
       three (3) business days after mailing, if by ordinary mail.

[75]   DECLARES that the Debtors, the Monitor and any party to this proceeding may
                                                                         c
       emailing such materials to counsels’ email addresses.

[76]   DECLARES that, except as otherwise provided herein, under the CCAA or
       ordered by this Court, no document, order or other materials need to be served
                                                                                    c
       Notice of Appearance on the counsel for the Debtors and the Monitor and its
       counsel and has filed such notice with the Court or appears on the Distribution
       List, save and except when an order sought against a Person not previously
       involved in these proceedings.

[77]   DECLARES that Exhibits R-8, R-9, R-14, R-17 and R-18 in support of the
       Application as well as Annex A of the Monitor’s Report (Exhibit R-16) be kept
       confidential and under seal until further order of the Court to the contrary.

[78]   DECLARES that the Monitor may, from time to time, file an application to this
       Court for directions concerning the exercise of their respective powers, duties
       and rights hereunder or in respect to the proper execution of the Order on notice
       only to the other parties.

[79]   DECLARES that this Order and all other orders in this proceeding shall have full
       force and effect in all provinces and territories in Canada.

[80]   DECLARES that the Monitor shall be authorized to apply, as it may consider
       necessary or desirable, with or without notice, to any other court or administrative
       body whether in Canada, the United States of America or elsewhere for orders
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       which aid with respect to the Order and any subsequent orders of this Court and,
       without limitation to the foregoing, an order under Chapter 15 of the United
       States Bankruptcy Code, in respect of which the Monitor may act as foreign
       representative of the Debtors. All courts and administrative bodies of all such
       jurisdictions are hereby respectively requested to make such orders and to
       provide such assistance to the Monitor as may be deemed necessary or
       appropriate for that purpose.

[81]   REQUESTS the aid and recognition of any Court or administrative body in any
       Province of Canada, of any federal court or administrative body of Canada, as
                                                                      ■ UnitedState
       America and of any court or administrative body elsewhere, to act in aid of this
       Court and act as its auxiliary for the purpose of carrying out the terms of this
       Order.

[82]   DECLARES that, for the purposes of any application to a foreign authority, the
       place of the Debtors' center of main interest is in the province of Quebec,
       Canada.

[83]   ORDERS the provisional execution of the Order notwithstanding any appeal.




                                            THE HONOURABLE ERIC HARDY, J.S.C.
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                                   APPENDIX " A "

                             MONITOR’S CERTIFICATE

CERTIFICATE NO : [•]



AMOUNT : $ [•]



1.   THIS IS TO CERTIFY that Ernst & Young Inc. acting as Monitor (the
     " Monitor") appointed by the Superior Court of Quebec (Commercial Division)
     (the "Court”) with respect to Laboratoires C.O.P. Inc, 9327-6269 Quebec inc,
     Pharmalab Inc. and Ideal Protein of America, Inc. (collectively, the "Debtors"),
     pursuant to an order issued by the Court on [August 15, 2023] (as amended
     and/or restated, from time to time, the "Initial Order in Court file number [•],
     hereby certifies that it has received from the holders of this certificate (the
     "Lenders") an interim advance (the "Interim Advance") in the principal amount
     of $!•!, the whole in accordance with the provisions set forth in the Initial Order.


2.   The Interim Advance, evidenced by this certificate (the "Certificate"), is payable
     on demand by the Lenders, with interest thereon calculated and compounded
     monthly and not in advance, on the £•! day of each month, after the date hereof,
     at an annual rate equal to      % over the Bank of Canada's prime rate of interest
     in effect at the time the Interim Advance is made.


3.   All amounts due to the Lenders in connection with the Interim Advance, as
     evidenced by this Certificate, are secured by the "Interim Advance Charge", as
     ordered by the Court pursuant to the Initial Order.


4.   Until the amounts due to the Lenders in connection with the Interim Advance
     evidenced by this Certificate have been repaid to the Lenders, no other charge or
     security of a higher rank may be granted against the property of the Debtors,
     unless the prior consent of the Lenders has been obtained.


5.   The Monitor acts hereunder as Monitor of the Debtors, and not in a personal
     capacity, and therefore does not incur any personal liability in connection with
     this Certificate.

                                  [Signature Page Follows]
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DATED the [•]. Day of [•], 2023.


                                   By      Ernst & Young Inc., solely in its capacity as
                                           Monitor of the         Debtors,   and   not   in   its
                                           personal capacity


                                           Par




                                                   Name : [•].


                                                   Title : [•].
